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 14                                    UNITED STATES DISTRICT COURT
 15                                  CENTRAL DISTRICT OF CALIFORNIA
 16

 17    JOHN DOE,                                               Case No. 5:22-cv-00855
 18    &
 19    THE ALLIANCE FOR CONSTITUTIONAL                   MEMORANDUM OF LAW AND POINTS
       SEX OFFENSE LAWS,                                   OF AUTHORITY IN SUPPORT OF
 20                                                      UNOPPOSED MOTION FOR LEAVE TO
                                 Plaintiffs,               PROCEED USING A PSEUDONYM
 21
              v.
 22
       U.S. DEPARTMENT OF JUSTICE,
 23
       &
 24
       MERRICK B. GARLAND,
 25    ATTORNEY GENERAL OF THE
       UNITED STATES, in his official capacity,
 26
                                 Defendants.
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  1          Plaintiff John Doe moves for leave to proceed using a pseudonym, and Defendants,
  2   U.S. Department of Justice, and Attorney General Merrick B. Garland, do not object to this
  3   relief. As Mr. Doe has argued in his complaint, he was previously required to register as a sex
  4   offender, but, according to the State of California, he no longer must do so. Yet Defendants
  5   have ordered him to register once again, in a new rule. As he has argued in his complaint,
  6   Defendants’ rule is unlawful—not only should he not be required to register at all, but the rule
  7   infringes on his First Amendment right to anonymous speech. Regardless of the merits of
  8   those arguments, though, if Mr. Doe is required to disclose his true name publicly, he would
  9   suffer the same harms as being required to register itself—harassment, serious harm to his
 10   reputation, and deprivation of his right to speak anonymously. Rather than force Mr. Doe to
 11   suffer those consequences as a condition of accessing the courts, this Court should allow Mr.
 12   Doe to publicly shield his true name, while providing Defendants appropriate access to that
 13   information under seal or similar protective measures.
 14   I. Relevant Facts
 15          Plaintiff, John Doe, was previously required to register as a sex offender under
 16   California (and federal) law because of a conviction for violating California Penal Code §
 17   243.4(a). Ex. A at ¶ 5 (Decl. of John Doe). However, in 2002, his conviction was expunged,
 18   and then in 2012, he was given a certificate of rehabilitation by a California court. Id. at ¶ 12.
 19   He no longer must register under California law. Id. at ¶ 15.
 20          Once he no longer was required to register, many of the collateral consequences he
 21   faced as a registrant went away. Id. at ¶ 20. He no longer faced harassment, lost work
 22   opportunities, and social exclusion. Id. Instead, he was welcomed in his community, including
 23   his church and his children’s schools. Id. at ¶ 12.
 24          According to the rule challenged in this case, however, Mr. Doe must once again
 25   register as a sex offender. Id. at ¶ 17. He must also provide detailed information such as
 26   “remote communication identifiers” that he might use online. Id. at ¶¶ 18-19.
 27          If Mr. Doe is required to register once again, he will once again face the same
 28   consequences that attend registration—social opprobrium, harassment, and exclusion from

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  1   work, school, and Church. Id. at ¶ 20. In addition, because of the remote communication
  2   identifier requirement, Mr. Doe will be forced to give up his right to anonymous online speech
  3   and will be forced to forego his right to speak freely about issues of public concern because
  4   of concerns that it will lead to his identification in the public. Id. at ¶ 22.
  5           Of course, if Mr. Doe is required to proceed in this case using his real name, he will
  6   suffer all of the same consequences that he might face from registering. Id. at ¶ 24. He will be
  7   forced to publicly identify himself as a putative sex offender, and will face the same
  8   harassment, exclusion, and loss of free speech rights. Id. Indeed, if he is not able to pursue
  9   this litigation under a pseudonym, he will not be able to litigate this important case at all. Id. at
 10   ¶ 25.
 11   II. Argument
 12           Federal Rule of Civil Procedure 10(a) provides that complaints must “include the name
 13   of all parties.” However, the Ninth Circuit has held that “a party may preserve his or her
 14   anonymity in judicial proceedings in special circumstances when the party’s need for
 15   anonymity outweighs prejudice to the opposing party and the public’s interest in knowing the
 16   party’s identity.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir.
 17   2000). This happens, for instance, when “nondisclosure of a party’s identity is necessary to
 18   protect a person from harassment, injury, ridicule, or personal embarrassment.” Id. at 1067–
 19   68. Thus, a court weighs three factors: (1) the harm to the plaintiff; (2) the harm to the
 20   defendant; and (3) the public interest. See id.
 21           The first factor—the potential harm to the plaintiff seeking anonymity—favors the use
 22   of a pseudonym in this case. Anonymity is appropriate, for instance, “where necessary to
 23   protect a person from injury or harassment[.]” United States v. Doe, 488 F.3d 1154, 1155 n.1
 24   (9th Cir. 2007). Likewise, a “litigant may overcome the presumption [of anonymity] by
 25   demonstrating a social interest in favor of protecting his identity.” Doe v. State of Alaska, 122
 26   F.3d 1070 (9th Cir. 1997) (unpublished table decision), affirmed by 259 F.3d 979, 983 (9th Cir.
 27   2001), rev’d on other grounds by Smith v. Doe, 538 U.S. 84 (2003). And when a plaintiff is
 28   advancing a strong public “interest in resolving [a] challenge to a governmental policy,” and

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  1   “disclosure will deny them the very relief they seek,” anonymity is appropriate, and “the public’s
  2   right of access is subordinate.” Id. Thus, the Ninth Circuit has held that it was error for a district
  3   court to deny pseudonymous status to a group of litigants who were challenging their inclusion
  4   in a sex offender registry. See id. District courts have followed this same reasoning to
  5   recognize that, even without direct threats of violence or harassment, sex offender registrants
  6   have an interest in anonymity when they litigate sensitive matters like a “constitutional
  7   challenge with the potential for publicity” to a sex offender registry. See Doe v. Cnty. of El
  8   Dorado, No. 2:13-cv-01433-KJM, 2013 WL 6230342, at *4 (E.D. Cal. Dec. 2, 2013). No wonder
  9   then that the Federal Reporter is filled with decisions involving pseudonymous plaintiffs
 10   challenging sex offender registries. See, e.g., Doe v. Harris, 772 F.3d 563, 564 (9th Cir. 2014)
 11   (pseudonymous challenge to disclosure requirements for sex offense registrants).
 12          Here, John Doe faces two distinct harms justifying proceeding under a pseudonym.
 13   First, as someone who would have to register anew as a sex offender, he faces serious
 14   reputational injury and potential harassment. See Ex. A at ¶ 20. As his attached declaration
 15   makes clear because he has not had to register as a sex offender for more than a decade, if
 16   he were required to register again then he would likely suffer the loss of his career, restrictions
 17   on visiting his children at school, and he fears harassment and potential violence from
 18   members of the public. Id.
 19          Second, and perhaps more significantly, just as in Doe v. State of Alaska, this lawsuit
 20   is a constitutional challenge to his wrongful inclusion on a sex offender registry. Indeed, his
 21   claim is based on the fact that but-for the new rule he would not have to register on any sex
 22   offender registry. See Complaint, Count II. Moreover, he also raises a First Amendment
 23   challenge to the registration requirement that would prevent him from speaking anonymously
 24   about issues of public concern. See id., Count IV. Thus, if he were required to disclose his true
 25   name publicly, “disclosure will deny [him] the very relief [he] seek[s].” Doe v. Alaska, 122 F.3d
 26   at 1070. He would suffer the same reputational harms and loss of anonymous speech rights
 27   just for filing the lawsuit that he seeks to stop by filing the lawsuit. Ex. A at ¶ 24. Because his
 28   “constitutional challenge with the potential for publicity” is designed to prevent a registration

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  1   requirement that unlawfully forces disclosures, both he and the public have a strong interest
  2   in not forcing him to suffer those same consequences as a condition to challenge the
  3   government action. See Doe v. El Dorado, 2013 WL 6230342, at *4.
  4          The second factor, prejudice to the defendant, likewise favors the use of a pseudonym.
  5   Mr. Doe seeks only to proceed using a pseudonym in public filings. He has no objection to
  6   disclosing his true name to the parties under seal or similar protective measures. And
  7   Defendants do not object to this relief. Since this is a “purely legal” challenge that “do[es] not
  8   depend on identifying the specific plaintiffs” it is difficult to imagine any harm to the defendants
  9   from the use of a pseudonym. Doe v. State of Alaska, 122 F.3d at 1070.
 10          Third, the public interest also favors anonymity. When a litigant challenges
 11   governmental action, anonymity often does not “obstruct public scrutiny of the important
 12   issues,” and the public interest instead militates in favor of “seeing [the] case decided on the
 13   merits.” Advanced Textile, 214 F.3d at 1072–73. Indeed, anonymity will “serve the public’s
 14   interest in [the] lawsuit by enabling it to go forward.” Id. at 1073. Thus, when a registrant
 15   challenges his inclusion on a registry “the public’s right of access is subordinate to the interest
 16   in resolving this challenge to a governmental policy.” Doe v. State of Alaska, 122 F.3d at 1070.
 17   “The public, as well as the plaintiffs, will benefit when the case proceeds to a resolution on the
 18   merits.” Id. Because Mr. Doe seeks to challenge an agency rule of general applicability on
 19   statutory and constitutional grounds, the public interest is likewise best served by ensuring this
 20   case goes forward to the merits. And since Mr. Doe cannot do so using his real name in public
 21   filings without also facing many of the same harms he seeks to avoid with his rule challenge,
 22   anonymity is entirely appropriate. Ex. A at ¶ 24. Indeed, if he is denied the opportunity to
 23   proceed using a pseudonym, Mr. Doe will likely be forced to abandon his constitutional rights
 24   and the public might be denied a ruling on the merits of this case. Id. at ¶ 25.
 25   III. Conclusion
 26          This Court should allow Mr. Doe to proceed using a pseudonym, and be required to
 27   disclose his true identify to Defendants only under seal, pursuant to a protective order, or with
 28   other similar protective measures. Defendants do not object to this relief.

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  1         DATED: June 3, 2022
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  3                                      Respectfully submitted,
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